         Case 1:25-cv-00604        Document 2-18       Filed 03/01/25      Page 1 of 3




             DECLARATION OF JOSE DANIEL SIMANCAS RODRIGUEZ

I, Jose Daniel Simancas Rodriguez, hereby declare under penalty of perjury pursuant to 28
U.S.C. § 1746 that the following is true and correct:

   1. My name is Jose Daniel Simancas Rodriguez. I am 30 years old and from Venezuela. I
      was detained at the U.S. military base at Guantánamo Bay, Cuba, from February 8, 2025,
      to February 20, 2025, before being deported to Venezuela.

   2. Before being sent to Guantánamo, I was detained at the El Paso Processing Center
      (EPPC) after surrendering to U.S. authorities and claiming asylum. I had only ever spent
      two days in solitary confinement before being detained at Guantánamo and it was a big
      shock to my system to be detained around the clock. At EPPC, I was placed in solitary
      confinement for two days after an officer there got upset with me because I wore the
      wrong shoes in a certain area. However, those two days at EPPC did not compare to
      Guantánamo, especially because I could overcome them by rejoining the general
      population, move freely around the dorm and speak with others. I had access to an
      outdoor area where I could see the outside world and feel the air and to a television to
      stay informed about what was happening in the world. I also had the ability to make calls
      and communicate with the outside, which I did regularly as I spoke to a loved one nearly
      daily.

   3. In the days leading up to my transfer to Guantánamo, I learned I was leaving EPPC, but I
      was not certain where I was being taken. I asked officers and was told I would be going
      to Miami, but I did not think that would be my final destination, so I asked what the final
      destination was and was never told. Officers at EPPC mocked us Venezuelans, saying,
      "You Venezuelans think you are men—wait until you go to Guantánamo.” This was
      concerning to me, but as I have no criminal history, I did not imagine I would be sent to
      Guantánamo.

   4. I was transferred on February 8, 2025, as part of the second group sent to Guantánamo.

   5. The conditions at Guantánamo were extreme and isolating. I was confined to my cell for
      23 hours a day, with almost no opportunity to leave or talk to others. The lights in the
      cells were on at all times. At night, the bright light changed to an orange glow that made
      me feel sick and dizzy. I would talk to myself because I was alone. The isolation and
      confinement was especially difficult for me because I have long struggled with
      claustrophobia and become easily overwhelmed in very small spaces.

   6. The guards constantly mocked us. I didn’t understand much of what they were saying
      because they spoke in English, but when we were taken to the showers, they would say,
      “No hablar,” to stop us from talking.

   7. When I banged on the door too much begging for help, they restrained me in a
      punishment chair twice. The officers, dressed in black, stormed my cell, shackled me, and
      tied me tightly to a chair, forcing me to face the wall for hours. On one occasion, I heard
      someone yelling in pain because his arm was hurt while being strapped to the punishment
         Case 1:25-cv-00604        Document 2-18         Filed 03/01/25      Page 2 of 3




       chair.

   8. The food rations were insufficient, and I was always hungry. There was no way to tell
      what time it was except that we would get a third meal, and that meant it was getting late.
      Desperate for answers about what was happening to us, I went on a hunger strike for
      seven days. For two days, I refused water and eventually fainted.

   9. The medical care at Guantánamo was almost nonexistent. I had been tested at EPPC for a
      brain tumor yet the officers at Camp 6 only ever gave me sleeping pills. I banged on the
      door and begged for help. I told them I felt like I was drowning. I told them I wanted to
      die. They only gave me more sleeping pills.

   10. I tried to kill myself while I was at Guantánamo. I cut my wrists with the edges of plastic
       water bottles, but they didn’t cut deep enough. I tried biting my tongue. I tried banging
       my head against the wall. I knew at least two other men who also tried to kill themselves.

   11. When I was in distress, officers told me to calm down. They would order me to put my
       hands out to be cuffed, but I wouldn’t, so they would bring in multiple officers to restrain
       me. Then the doctor would come in and give me more sleeping pills.

   12. I kept telling the doctor I needed more food, especially because the sleeping pills made
       me even hungrier. I arrived weighing 83 kilograms and left weighing 75 kilograms. The
       doctors spoke Spanish, and they were the only ones I could communicate with, so I
       begged them for help, but I got very little in return. They would say that they could not
       give me any information and that ICE was in charge.

   13. My detention at Guantánamo destroyed my life. They accused me of being a gang
       member and a terrorist, even though I am not. The Venezuelan government did a full
       background check when I was deported and found nothing. I had official documents from
       Venezuela and Ecuador proving I had no criminal record. But now my name is public.
       People on social media call me a terrorist.

   14. I have nothing left. I have less than when I first migrated. I don’t even have clothes. I am
       embarrassed to go out. I am ashamed.

   15. The cruelty I endured at Guantánamo was beyond anything I could have imagined. No
       human being should be subjected to such suffering.

   16. Because I do not have access to stable internet where I am currently in Venezuela without
       stable internet, I could not sign this declaration myself but gave consent to Jennifer Reyes
       to sign on my behalf.

Executed on the 28th of February, 2025.

/s/ Jose Daniel Simancas Rodriguez
Jose Daniel Simancas Rodriguez
         Case 1:25-cv-00604         Document 2-18        Filed 03/01/25      Page 3 of 3




                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Jennifer Reyes, certify that I am fluent in both English and Spanish. On February 28,

2025, I personally spoke with Jose Daniel Simancas Rodriguez and read the foregoing

declaration to him, translated into Spanish faithfully and accurately, over the phone. Mr.

Simancas Rodriguez affirmed that he understood my translation and that the information in the

above declaration is true and accurate.

       Due to Mr. Simancas Rodriguez being currently without stable internet, it was not

possible to obtain a written signature on the above declaration. In addition to confirming that the

information in the above declaration is true, Mr. Simancas Rodriguez also gave me verbal

consent to sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



_______________________________
Jennifer Reyes
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